
LIPEZ, Circuit Judge,
with whom TORRUELLA, Circuit Judge, joins, dissenting from the denial of the petitions for rehearing en banc.
I have already explained in a dissent my disagreement with the panel majority. I will not repeat those reasons here. However, without suggesting any disrespect for the majority’s views, I wish to record my vote for rehearing en banc and state my concern about any possible implications of the majority’s reliance on the narrow tailoring doctrine. That reliance does not seem central to the majority’s holding. Moreover, given the close vote on the en banc petitions, that reliance may have limited value for any future litigation involving the application of the narrow tailoring doctrine to a race-conscious remedial decree.
